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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )
                                         )                 4:06CR3023-3
                   Plaintiff,            )
                                         )
            V.                           )               MEMORANDUM
                                         )                AND ORDER
SHAWN TULL,                              )
                                         )
                   Defendant.            )

       I have received a very thorough evaluation of the defendant from the Bureau of
Prisons. I will provide the lawyers with a copy and give them an opportunity to submit
additional motions and briefs as a result. Accordingly,

      IT IS ORDERED that:

1.    The Clerk of the court shall file the attached evaluation. It need not be sealed.
      Copies shall be provided to counsel and the probation officer.

2.    By the close of business on November 9, 2007, any party may file a motion,
      supported by a brief, addressing any issue raised by the evaluation. If a motion
      is filed, it will be taken up at sentencing.

3.    Sentencing is scheduled on Wednesday, November 28, 2007, at 12:00 noon,
      before the undersigned United States district judge, in Courtroom No. 1, Robert
      V. Denney United States Courthouse and Federal Building, 100 Centennial Mall
      North, Lincoln, Nebraska. The defendant shall be present unless excused by the
      court.

      October 12, 2007.               BY THE COURT:
                                      S/ Richard G. Kopf
                                      United States District Judge
